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                             IN THE UNITED STATES DISTRICT COURT          ,,,,,inel#"'*,ffiru2,s,
                                                                                         JUN 1 7 2025
                                   FOR THE DISTRTCT OF NEW rraeXtCQ'

                                                                            ' MITCHELL R
  I.JNITED STATES OF AMERICA,
                                                                           j.,      .LER.,(ELFEB.

                      Plaintiff,

            vs.                                                    Cr. No.24-00035-DHU

  AIYTIIONY STEPHEN,

                      Defendant.



                                            PLEA AGREEMENT

        Pursuant to Rule           ll, Fed. R. Crim. P., the parties notify the Court of the following
agreement between the United States of America, by the United States Attorney for the District of

New Mexico, and the Defendant, Anthony Stephen, with the advice and counsel of his attorney,

Elizabeth A. Harrison. This agreement is limited to the United States Attomey's Office for the

District of New Mexico and does not bind any other federal, state, or local agencies or prosecuting

authorities.

                                    BpPRESENTATTON BY COqNS,E-L.

       1.           The Defendant understands the Defendant's right to be represented by an attomey

and is so represented. The Defendant has thoroughly reviewed all aspects of this case with the

Defendant's attomey and is fully satisfied with that attomey's legal representation.

                                      RIGIITS OF TIIE DEFENPANT

       2.           The Defendant further understands the Defendant's rights:

               a.      to piead not guilty, or having already so pleaded, to persist in that plea;

               b.      to have a trial by jury; and
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            c.      at a trial:

                     i.        to confront and cross-examine adverse witnesses,

                    ii.        to be protected from compelled self-incrimination,

                   iii.        to testifr and present evidence on the Defendant's own behalf and

                    iv.        to compel the attendance of witnesses for the defense.

                          WAIVER OF RIGHTS AND PLEA OF GUILTY

       3.        The Defendant agrees to waive these rights and to plead guilty to Count I of the

indictment, charging a violation of 18 II.S.C. gg 933(a)(1), 9i3(a)(3), and 9jjft), that heing

Firearms Traffi cking Consp iracy.

                                             SENTENCING

       4.        The Defendant understands that the maximum penalties provided by law for this

offense are:

            a.      imprisonment for a period of not more than 15 years;

            b.      a fine not to exceed the greater of $250,000 or twice the pecuniary gain to the


                    Defendant or pecuniary loss to the victirn;

            c.      a term of supervised release of not more than 3 years to follow any term of

                    imprisonment. (If the Defendant serves a terrn of imprisonment, is then released

                    on supervised release, and violates the conditions of supervised release, the

                    Defendant's supervised release could be revoked                 on the last day ofthe

                    term          and the Defendant could then be retumed to another period of
                           -
                    incarceration and a new term of supervised release.);

            d.      a mandatory special penalty assessment of $100.00; and

            e.      restitution as may be ordered by the Court.
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        5-      The pamies recognize that the federal sentencing guidelines are advisory and that

the Court is required to consider them in determining the sentence it imposes. The Defendant

ftrrther recognizes that rvhile the Defendant's attorney may have made a prediction or estimote of

the sentence that the Court may impose, the Defendant understands that the Court is not bound by

any such estimate or prediction.

                                ELEMENTS OF' THE OFFENSE

        6.      If this matter proceeded to trial, the Defendant understands that the United States

would be required to prove, heyond a reasonahle douht, the following elements for violations of

the charges listed below:

        Count 1: 18 U-$..C. 8g 933(a)(1). 933(aX3). and 933ft)r Fit-e_a.frns Trafficking Conspiracv

                 First:            The defendant shipped, transported, transferred, caused
                                   to be transported, or otherwise disposed of a firearm to
                                   another person, or conspired with another person to do
                                   SO;


                 Second:           In or otherwise affecting interstate or foreign commerce;

                 Third:            Knowing or having reasonable cause to believe that the
                                   use, camying, or possession of a firearm by the recipient
                                   would constitute a felony; and

                 Foutth;           Tlrere was interdependence atnong the mernbers of tlre
                                   consplracy.

                            pE,,r.ElupANT:s ApMrssroN oF FACrs

        7   -   By my signature on this plea agreement, I am acknowledging that I am pleading

guilty because I am, in fact, guilty of the offense(s) to which I am pleading guilty. I recognize and

accept responsibility for my criminal conduct. Moreover, in pleading guilty, I acknowledge that       if
I chose to go to trial instead of entering this plea, the United States could prove facts sufficient to

establish my guilt of the offense(s) to which I am pleading guilty beyond a reasonable doubt,
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including any facts alleged in the indictment that increase the statutory minimum or maximum

penalties. I specifically adrnit the following facts related to the charges against me, and declare

under penalty ofperjury that all ofthese facts are true and correct:

           i. On August 9,2023,I sold a custom-built firearm (which my co-defendant
               built) to a customer who I norv know was an undercover law enforcement

               agent. The firearm functioned as designed, and its receiver was not

               manufactured in New Mexico. This firearm had a barrel length less than 16

               inchqs and an overall length less than 26 inches and was transferretl with a

               shoulder stock attached, which made it a "short-barreled rifle,' as defined by

               the National Firearms Act. This firearm was not registered as a "short-

               barreled riller" nor did it bear any of the markings that it rvas required to have

               as a "short-barreled rifle." I therefore had reasonable cause to believe that the

               use, carrying, or possession of this firearm by the customer would constitute a

               felony.

           b. On August 31,2023,I sold a firearm (which f customized for the purposes of
               this sale) to a customer who I now know was ar undercover law enforcement

               agent. The firearm functioned as designed, and its receiver was not

               manufactured in Nerv Mexico. This firearm had a barrel length less than 16

               inches and an overall length less than 26 inches and was transferred with a

               shoulder stock attached, which made it a "short-barreled rifle" as defined by

               the National Firearms Act. This firearm was not registered as a .(short-

               barreled rifle," nor did it bear any of the markings that itwas required to have
                      ('short-barreled
               as a                      rifle." I therefore had reasonable cause to believe that the
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                 use, carrying, or possession of this firearm by the customer would constitute a

                 felony.

            c. During each ofthe transactions described above, the sale occurred at Shooter's
                 Den, where I worked. At the time, Shooter's Den was a federal lirearms

                 licensee in Bernalillo County, in the District of New Mexico, but the firearms

                 at issue were privately transferred.

       8.        By signing this agreement, the Defendant admits that there is a factual basis for

eaoh element of the crime(.s) to which the Defendant is pleading guilty and agrees to affirm the

facts set forth above during the plea colloquy. The Defendant agrees that the Court may rely on

any of these facts, as well as facts in the presentence report, to determine the Defendant's sentence,

including, but not limited to, the advisory guideline offense level.

                                    RECOMMENDATIONS

       9.        Pursuant to Rule 1l(cXlXB), the United States and the Defendant recommend as

follows:

            a.      The United States agrees to recommend a total sentence of two years of

                    probation. This recommendation does not extend to any sentence to be

                    imposed upon revocation of probation or supervised release.

            b.      As of the date of this agreement, the Defendant has clearly demonstrated a

                    recognition and affirmative acceptance of personal responsibility for the

                    Defendant's criminal conduct. Consequently, pursuant to USSG $ 3E1 . I (a), so

                    long as the Defendant continues to accept responsibility for the Defendant's

                    criminal conduct, the Defendant is entitled to a reduction of two levels from

                    the base offense level as calculated under the sentencing guidelines, and if
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                   applicable, a reduction of an additional offense level pursuant to USSG

                   $ 3El.1(b). Further, the United States is free to withdraw this recommendation

                   if the Defendant engages in any conduct that is inconsistent with acceptance

                   of responsibility between the date of this agreement and the sentencing
                   hearing. Such conduct would include committing additional crimes, failing to

                   appear in Court as required, and/or failing to obey any conditions of release

                   that the Court may set.

                   The Defendant understands that the above recommendations are not binding on

                   the Court and that whether the Court accepts these recommendations is a matter

                   solely within the discretion of the Court after it has reviewed the presentence

                   report- Further, the Defendant understands that the Court may choose to vary

                   from the advisory guideline sentence. Ifthe Court does not accept any one or

                   more ofthe above recommendations and reaches an advisory guideline sentence

                   different than expected by the Defendant, or if the Court varies from the

                   advisory guideline range, the Defendant will not seek to withdraw the

                   Defendant's plea of guilty. In other words, regardless of any of the parties'

                   recommendations, the Defendant's final sentence is solely within the discretion

                   of the Court.

       10.     Apart from the recommendations set forth in this plea agreement, the United States

and the Defendant reserve their rights to assert any position or argument with respect to the

sentence to be imposed, including but not limited to the applicability of particular sentencing

guidelines, adjustments under the guidelines, departures or variances from the guidelines, and the

application of factors in l8 U.S,C. g 3553(a).
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        1I   .   Regardless of any other provision in this agreement, the United States reserves the

right to provide to the United States Pretrial Services and Probation Office and to the Court any

information the United States believes may be helpful to the Court, including but not limited to

information about the recommendations contained in this agreement and any relevant conduct

under USSG $ 181.3.

                        DEF'ENDATIT'S ADDITIONAL, ASREPMENT

        12.      The Defendant underctands the Defendant's obligation to provide the United States

Pretrial Services and Probation Office with tnrthfirl, accurate, and complete infonnation. The

Defendant represents that the Defendant has cornplied with and will continue to comply with this

obligation.

        13-      The Defendant agrees that any financial records and information provided by the

Defendant to the Probation Office, before or after sentencing, may be disclosed to the United States

Attorney's Office for use in the collection of any unpaid financial obligation.

        14.      The Defendant agrees that, upon the Defendant's signing of this plea agreement,

the facts that the Defendant has admitted under this plea agreement as set forth above, as well as

any facts to which the Defendant admits in open court at the Defendant's plea hearing, shall be

admissible against the Defendant under Federal Rule of Evidence 801(d)(2XA) in any subsequent

proceeding, including a criminal trial, and the Defendant expressly waives the Defendant's rights

under Federal Rule of Criminal Procedure l1(f) and Federal Rule of Evidence 410 with regard to

the facts the Defendant admits in conjunction with this plea agreement.

        15.      By signing this plea agreement, the Defendant waives the right to withdraw the

Defendant's plea of guilty pursuant to Federal Rule of Criminal Procedure I l(d) unless (1) the

court rejects the plea agreement pursuant to Federal Ruie of Crirninal Procedure I I (c)(5) or (2) the
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Defendant can show a fair and just reason as those terms are used in Rule ll(dX2XB) for

requesting the withdrawal. Furthennore, the Defendant understands that if the court rejects the

plea agreement, whether or not the Defendant withdraws the guilty plea, the United States is

relieved of any obligation it had under the agreement and the Defendant shall be subject to

prosecution for any federal, state, or local crime(s) which this agreement otherwise anticipated

would be disrnissed or not prosecuted.

        16. The Defendant will not willfully fail to appear for any court appearance in this
matter, nor willfully fail to surrender as ordered for service of any sentence.

        17   .    The Defendant agrees not to engage in conduct that would constitute a new crime.

Offenses that would be excluded for sentencing purposes under USSG $ aAl.2(c) are not within

the scope of this paragraph's agreement.

        I8.      Defendant agrees not to engage in conduct that would constitute obstructing or

impeding the administration ofjustice under USSG $ 3C1.1.

        19. The Defendant further agrees that this plea agreement has been reached under a
joint plea offer, pursuant to which the Defendant must plead guilty and his co-Defendant, Whitney

Bisetti, must enter into a pretrial diversion agreement as a condition of this agreement. If either

this Defendant or co-Defendant Whitney Bisetti fail to fulfill either ofthose conditions, or attempts

to move to set aside or withdraw from any such plea or diversion agreement, the Defendant

understands that the United States shall have the right to withdraw from this plea agreement, even

after it has been accepted by this Court, and take any action described under the heading Violation

of Plea Agreement below.
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    IW{IGRATION REMOVAL AI{D OTHER IMMIGRATION CONSEOUENCES

       20. The Defendant recognizes thatpleading guilty may have consequences with respect
to the Defendant=s immigration status if the Defendant is a naturalized citizen or not a citizen of

the United States. For naturalized citizens, certain offlenses may carry a risk of denaturalization

and deportation. Furthermore, for individuals who are not citizens of the United States, a broad

range of crimes are removable offenses, including the offense(s) to which the Defendant is

pleading guilty. Removal and other immigration consequences are the subject of a separate

proceeding, however, and the Defendant understands that no one, including the Defendant's

attorney or the district court, oan predict to a certainty the effect of the Defendant's conviction on

the Defendant's immigration status. The Defendant nevertheless affirms that the Defendant wants

to plead guilty regardless of any immigration consequences that the Defbndant's plea may entail,

even if the consequence is the Defendant's automatic removal frorn the United States.

                WAIVER OF'APPEAL AND POST.CONVICTION RIGHTS

       21. The Defendant is aware that 28 U.S.C. $ 1291 and 18 U.S.C. 53742 afford the right
to appeal a conviction and the sentence imposed. Acknowledging that, the Defendant knowingly

waives the right to appeal the Defendant's conviction(s) and any sentence within or below the

advisory guideline range as determined by the Court, as well as any order of restitution entered by

the Court. This waiver extends to any challenge to the manner in which the sentence was

determined or imposed, including the district court's authority to make findings supporting the

sentence.

       22. The Defendant also waives the right to appeal any sentence imposed below or
within the guideline range upon a revocation of supervised release in this cause number but may

nonetheless appeal the determination of the revocation guideline range-
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        23. The Defendant also waives the right to appeal the denial of any motion filed under
18 U.S.C. $ 3582(c) where such denial rests upon the court's determination that a sentence

reduction is not warranted under the factors set forth in 18 U.S.C. $ 3553(a).

        24. In addition, the Defendant agrees to waive any collateral attack to the Defendant's
conviction(s) and any sentence, pursuant to 28 U.S.C. $$ 2241, 2255, or any other extraordinary

writ, except on the issue of defense counsel's ineffective assistance.

                      G O"yP,BI-.[MENT' S AD DITIO NAL AGRE EMPI:{T


       25. Provided that the Defendant fulfills the Defendant's obligations as set out ahove,
the United States agrees that:

            a.     Following sentencing, the United States will move to disrniss Counts 2 and 3

                   of the indictment as to this Defendant.

            b.     The United States will not bring additional criminal charges against the

                   Defendant arising out of the facts fonning the basis of the present indictment.

                                      VOLUNTARY PLEA

       26. The Defendant agrees and represents that this plea of guilty is freely and voluntarily
made and is not the result of force, threats, or promises (other than the promises set forth in this

agreement and any addenda). There have been no promises from anyone as to what sentence the

Court will impose. The Defendant also represents that the Defendant is pleading guilty because

the Defendant is in fact guilty.

                            VIOLATION OF PLEA AGREEMENT

       27. The Defendant agrees that ifthe Court finds by a preponderance ofthe evidence
that the Defendant has violated any provision of this agreement, the United States will be released

from its obligations under the agreement. If the Defendant has pleaded guilty to any lesser-included



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offense(s), the Defendant's violation of this plea agreement will result in reinstatement of the

greater offense(s), The Defendant waives any claim that the Defendant's guilty plea under the

rejected agreement bars prosecution ofany additional offenses on double-jeopardy grounds.

       28. The Defendant further agrees that in the event the Court finds that Defendant has
breached this plea agreement, thus releasing the United States of its obligations under the

agreement, such events do not constitute a fair and just reason under Rule 11(d)(2)(B) for

withdrawing the guilty plea(s) entered pursuant to this agreement.

       29. Following the Court's finding of a breach of this agreement hy the Defendanl
should the United States choose to pursue any charge that was either dismissed or not filed as a

result of this agreement, the Defendant waives any defense to that charge or charges based on the

lapse of time between the entry of this agreement and the Court's finding of a breach by the

Defendant.

                                   SPECIAL.dS"SESSMENT

       30. At the time of sentencing, the Defendant will tender to the United States District
Court, District of New Mexico, 333 Lornas Blvd. NW, Suite 270, Albuquerque, New Mexico

87107, a money order or certified check payable to the order of the United States Ilistrict Court

in the amount of $100 in payment of the special penalty assessment described above.

                               ENTIBETY OF AqREEMENT

       31. This document and any addenda are a cornplete statement of the agreement in this
case and may not be altered unless done so in writing and signed by all parties. This agreement is

effective upon signature by the Defendant and an Assistant United States Attorney.




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        AGREED TO AND SIGNED this 11]day of*.t---
                                             \.\rnr-                          ,ZOZ5.

                                                         RYAN ELLISON
                                                         Utrited States Ail.orney




                                            *t&                C.
                                                         Assistant United
                                                         201 Third Street, Suite 900
                                                         Albuquerque, New Mexico 87i03
                                                         (s}s) 346-7274


        I have carefully discussed every part of this agreement with my client, Further, I have fully
advised my client of my client's rights, of possible defenses, of the sentencing factors set forth in
l8 U.S.C. $ 3553(a), of the relevant sentencing guidelines provisions, and of the consequences of
entering into this agreement. In addition, I have explained to my client the elements to each offense
to which she/he is pleading guilty. To my knowledge, my client's decision to enter into this
agreement is an informed and voluntary one.




                                                         Elizabeth A.


        I have carefully discussed every part ofthis agreement with my attorney. I understand the
terms of this agreement, and I voluntarily agree to those terms. My attorney has advised me of
my rights, of possible defenses, of the sentencing factors set forth in 18 U.S.C. $ 3553(a), of the
relevant sentencing guidelines provisions, and of the consequences of entering into this agreement.




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